 

A
, Case 3:13-cv-04896-K Document 244 Filed 09/18/19 Pagei1of2 PagelD 4312

at

geass +

  
 
 

NORTHERN DISTRICT OF TEXAS#
DALLAS DIVISION

 

KELVION WALKER, §

Plaintiff,
V. Civil Action No. 3-13-cv-04896-K
AMY WILBURN,

Defendant.

JURY NOTE NO. I

In response to your note “Clarification on Question 2 on Plaintiff Walker prove?
Retalitive to wording”

You have all the evidence and all the law I can give you.

Signed September [ , 2019.

ED KINKEADE
UNITED STATES DISTRICT JUDGE
Ca

Se 3:13-cv-04896-K Document 244 Filed 09/18/19 Page 2of2 PagelD 4313

 

 

C lai. Cook fan. (op. Oeshieg Qo

 

Olaint: Cr Le, hep Pto Vt, IT The

 

dé ene id jn
_7

 

 

Dua [Dig
ZG¢I WIT

 

2! 20 f- LI2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
